Case 1:14-cV-037_09-GHW Document 2 Filed 05/23/14 Page 1 of 9
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UNITED STATES DISTRICT COURT § 4 LW @_P § §§ 7

FOR THE SOUTHERN DISTRICT OF NEW YO

CARLOS SOTO, LIBARDO ANTONIO VINDELL

ACUNA, FILIBERTO RUIZ, JOSE VALDIVIA, JOSE CIVIL ACTION
ENRIQUE MUNGUIA and DOMINGO
PORTOCARRERO, Case No.:

Plaintiffs, COMPLAINT
- against -

POFI CONSTRUCTION, CORP. and PORFIRIO GARCIA,
individually,

 

Defendants.
Plaintiffs, by their attorneys, Virginia and Ainbinder, LLP, allege upon knowledge to

themselves and upon information and belief as to all other matters as follows:

PRELI]VI[NARY STATEMENT

l. T his action is brought pursuant to the Fair Labor Standards Act (the “FLSA”), 29
U.S.C. § 207; New Yorl< Labor Law (“NYLL”) Article 19 §§ 633; NYLL Article 6 §§ 190, er
seq.; and 12 New York Codes, Rules, and Regulations (“NYCRR”) § 146-2,2 to recover unpaid
overtime compensation, and damages arising from record~keeping violations owed to CARL'OS
SOTO, LIBARDO ANTONIO VINDELL ACUNA, FILIBERTO RUIZ, JOSE VALDIVIA,
iOSE ENRIQUB MUNGUIA, and DOMINGO PORTOCARRERO (hereinafter “Plaintiffs”),
Who performed labor for POFI CONSTRUCTION, CORP. (“POFI”) and PORFIRIO GARCIA,
individually, together With other affiliates and joint venturers of these entities and individuals
(hereinafter collectively referred to as “Defendants”).

2. Beginning in approximately May 2008 and, upon information and belief,
continuing through the present, Defendants have engaged in a policy and practice of requiring

the Plaintiffs to regularly Work in excess of forty (40)1 hours per Week, Without providing

Case 1:14-cV-03709-GHW Document 2 Filed 05/23/14 Page 2 of 9

overtime compensation as required by applicable federal and state law.

3.. Beginning in approximately May 2008, Defendants engaged in a policy and
practice of failing to provide Plaintiffs With wage notices and Wage statements in Plaintiffs’
primary language, as required by applicable New York State laW.

4. l Under the direction of Defendants’ corporate officer and/or director Porfirio
Garcia, a practice Was instituted of depriving Plaintiffs of the basic compensation for Work
performed each Week, namely their overtime compensation

5. Plaintiffs have initiated this action seeking for themselves their earned but unpaid
compensation, including overtime compensation, of vvhich they Were deprived, and damages

arising from failure to receive Wage notices and statements, plus interest, damages, attorneys’

fees, and costs.
JURISDICTION

6. Jurisdiction of this Court is invoked pursuant to FLSA, 29 U.S.C. §§ 207 and 28
U.S.C. §§ 1331 and 1337. This court also has supplemental jurisdiction under 28 U.S.C. §1367
of the claims brought under the Nevv Yorlc Lavv.

7. The statute of limitations under the FLSA for Willful violations is three (3) years.
See 29 U.S.C. §255(a).

8. The statute of limitations under the New York Labor LaW is six (6) years. See
New York Labor Lavv § 198(3).

, THE PARTIES

9. Plaintiff Carlos Soto (“Soto”) is an individual residing in the State of New Yorl<

Who performed labor and roofing Work for Pofi.

10. Plaintiff Libardo Antonio Vindell Acuna (“Acuna”) is an individual residing in

Case 1:14-cV-03709-GHW Document 2 Filed 05/23/14 Page 3 of 9

the State of New Yorl< Who performed labor and roofing Work for Pofi.

ll. Plaintiff Filiberto Ruiz (“Ruiz”) is an individual residing in the State of Nevv York
Who performed labor and roofing vvork for Pofi.

12. _ Plaintiff Jose Valdivia (“Valdivia”) is an individual residing in the State of Nevv
York Who performed labor and roofing Worl<; for Poii.

13. Plaintiff Jose Enrique-Munguia (“Munguia”) is an individual residing in the State
ofNeW Yorl< Who performed labor and roo§ng Work for Poii.

14. Plaintiff Domingo Porto carrero_ (“Porticarrero”) is an individual lresiding in the
State of New Yorl<; vvho performed labor and roofing Work for Poii.

15. Upon information and belief,r Defendant Pofi, is a corporation organized and
existing under the laws of the State of Nevv York, With its principal place of business at 1735
West Farms Road, Bronx, Nevv York 10460 and is engaged in the construction business

16. Upon information and belief, Defendant Porfn‘io Garcia is an individual residing
at 214 East 237th Street, Bronx, Nevv York 10470~2007 and at all relevant times vvas an ofticer,

director, and/or owner of Pofi.

17. Upon information and belief, Defendants’ annual gross volume of sales made or
business done is not less than $500,000.
M
18. Venue for this action in the Southern District of Nevv York under 28 U.S.C. §

1391(b) is appropriate because a substantial part of the events or omissions giving rise to the

claims occurred in the Southern District of Nevv York.

FACTS

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 4 of 9

19. Plaintiffs re-allege and reincorporate by reference all preceding
paragraphs

20. Plaintiff Soto Was employed by Defendants from approximately July 2011 until
lanuary 2013 to perform labor and roofing Work related to Po_fi’s construction operations
Plaintiff Soto Worked from approximately$ a.m. through 4:30 p.m., six (6) to seven (7) days per
Week. He received sixteen (16) dollars per hour for all hours Worked, including those Worked
over forty hours in a given Week.

21. Plaintiff Acuna was employed by Defendants from approximately luly 2011 until
approximately January 2013 to perform labor and roofing Work related to Pofi’s construction
operations Plaintiff Acuna Worl<ed from approximately 8:00 a.m. until approximately 4:30 p.m.,
six (6) to seven (7) days per Weel<. He received thirteen (13) dollars per hour for all hours
Worked, including those vvorked over forty hours in a given Weel<.

22. Plaintiff Ruiz vvas employed by Defendants from approximately July 2010 until
approximately November 2012 to perform labor and roofing vvorlc related to Poii’s construction
operations Plaintiff Ruiz Worked from approximately 7:00 a.m. until approximately 8 p.m. or 9
p.m., seven (7) days per Weel<. He received the same hourly Wage for all hours Worked,
including those Worlced over forty hours in a given Week.

23. Plaintiff Valdivia vvas employed by Defendants from approximately lune 2011
until approximately 2014 to perform labor and roofing Worl< related to Pofi’s construction
operations Plaintiff Valdivia Worked from approximately 8:00 a.m. until approximately 4:30
p.m., six (6) to seven (7) days per Weelc. He received between nineteen (19) and twenty (20)
dollars per hour for all hours vvorl<:ed, including those Worked over forty hours in a given Week.

24. Plaintiff Munguia Was employed by Defendants from approximately lune 2011

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 5 of 9

until approximately 2014 to perform labor and roofing work related to Pofr’s construction
operations Plaintiff Munguia worked nom approximately 8 a.m. until approximately 6 p.m. to 7
p.m., six (6) to seven (7) days per week. l-Ie was received twenty (20j dollars per hours for all
hours worl<ed, including those worked over forty hours in a given week.

25. Plaintiff Portocarr.era was employed by Defendants from approximately July 2011
until approximately lanuary 2013 to perform labor and roofing Work related ` to Pofi’s
construction operations Plaintiff Portocarrera worked from approximately 8 a.m. until
approximately 4:30 p.m., six (6) to seven (7) days per week. He received sixteen (16) dollars per
hours for all hours worked, including those worked over forty hours,in a given weel<.

26. Upon information and belief, while working for Defendants, Plaintiffs did not
receive any overtime wages, at the rate of one and one half times (l.5x) the regular rate of pay,
for the time in which they worked after the first forty hours in any given weel<.

27. Upon information and belief, Poriirio Garcia is and at all relevant times was the
president and/or owner of Pofi, and (i) had the power to hire and fire employees for Pofi; `(ii)
supervised and controlled employee work schedules orl'conditions of employment for Pofi; (iii)
determined the l rate and method of payment for Pofi’s employees; and (iv) maintained
employment records for Pofi.

28. Upon information and belief, Defendant Porfirio Garcia was the principal and
owner of Pofi, dominated the day-to-day operating decisions of Pofr, and made major personnel
decisions for Pofi.

29. ' Upon information and belief, Porfirio Garcia had complete control of the alleged
activities of Pofi, which give rise to the claims brought herein.

30. Upon information and belief, Defendants failed to properly document and record

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 6 of 9

the actual number of weekly hours Plaintiffs worked and their wages paid.

31. Defendants failed to provide Plaintiffs with annual wage notices, including
information such as the rate of pay and any allowances claimed as part of the minimum wagel

32. Throughout Plaintiffs’ employment Defendants failed to provide Plaintiffs with
an accurate wage statement with every payment of wages, containing information such as dates
of work, rates of pay for regular and overtime hours, and number of regular hours and overtime

hours Worked.

FIRS'I` CAUSE OF ACTION
FLSA OVERTIME COMPENSATION

33. Plaintiffs re-allege and reincorporate by reference all preceding paragraphs
--34. Pursuant -to the- Fair Labor-- Standards Act (“FLSA”),' 29 U.S.C. § 207--, -‘-‘no
employer shall employ any of his employees who in any workweek is engaged in commerce or
in the production of goods for commerce, for a workweek longer than forty hours unless such
employee receives compensation for his employment in excess of the hours above specified at a
rate not less than one and one-half times the regular rate at which he is employed.”

35. Further, pursuant to 29 U.S.C. § 203(d), an “employer” includes “any person
acting directly or indirectly in the interest of an employer in relation to an employee and includes
a public agency, but does not include any labor organization (other than when acting as an
employer) or anyone acting in the capacity of officer or agent of such labor organization.”

36. Plaintiffs are employees within the meaning contemplated in FLSA, 29 U.S.C.
§203.

37. Pursuant to 29 U.S.C. § 203(d) and the cases interpreting the same, Porfirio

Garcia is defined as “employer” for the purpose of FLSA and, consequently, are liable for

violations ofFLSA.

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 7 of 9

38. Upon information and belief, Defendants failed to pay the Plaintiffs overtime
wages, at the rate of one and one-half times the regular rate of pay, for all the time in which they

worked after the first forty hours in any given weekf

39. The'failure of Defendants to pay the Plaintiffs their rightfully owed overtime
compensation was willful.

40. By the foregoing reasons, Defendants are liable to the Plaintiffs in an amount to
be determined at trial, plus liquidated damages in the amount equal to the amount of unpaid

wages, interest, attorneys’ fees, and costs

SECOND CAUSE OF ACTION
NEW YORK OVERTIME COMPENSATION LAW

41. The"Plaintiffs re- allege and'reincorporate by reference all preceding paragraphs

42. 12 NYCRR §146~2.2 requires that “[A]n employer shall pay an employee for
overtime at a wage rate of l 1/2 times the employee's regular rate for hours worked in excess of
forty (40) hours in one workweek

43. New York Labor Law § 663, provides that “[i_]f any employee is paid by his
employer less than the wage to which he is entitled under the provisions of this article, he may
recover in a civil action the amount of any such underpayments, together with costs and such
reasonable attorney’s fees”

44. Upon information and belief, Plaintiffs worked more than forty (40) hours a week
while working for Defendants

45. Upon information and belief, Plaintiffs did not receive overtime compensation for
all hours worked after the first forty (40) hours in a week.

46. Consequently, by failing to pay Plaintiffs overtime compensation for work they

performed after the first forty hours worked in a week, Defendants violated New York Labor

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 8 of 9

Law § 663 and 12 NYCRR § 146-2.2.
47. Upon information and belief, Defendants’ failure to pay overtime compensation `
for work performed by the Plaintiffs after the first forty (40) hours worked in a week was willful
48. ' By the foregoing reasons, Defendants have violated New York Labor Law § 663
and 12 NYCRR § 146-2.2, and are liable to the Plaintiffs in an amount to be determined at trial,

plus damages interest, attorneys’ fees, and costs

THIR_D CAUSE OF ACTION:
NYLL NOTICE AND RECORD ICEEPING REQUIREMENTS

49. Plaintiffs re~allege and reincorporateby reference all preceding paragraphs

50. Defendants failed to provide Plaintiffs with a wage notice in Plaintiffs’ primary
language,' Spanisli;'on or'before February first of each year of Plaintiffs"'employment containing
information outlined in NYLL § 195(1), including information such as the rate of pay, any
allowances claimed as part of the minimum wage.

51. Defendants failed to provide Plaintiffs with a wage statement with every payment
of wages containing information outlined in NYLL § 195(3), including information such as the
rate of pay, basis of pay, gross wages, and any allowances claimed as part of the minimum wage.

l 52. As a result of Defendants’ violations of NYLL § 195(1) and (3), Plaintiffs may
recover damages of fifty dollars (50) for each work week Defendants failed to provide Plaintiffs
with a wage notice, and damages of one hundred (100) dollars for each work week Defendants
failed to provide Plaintiffs with a wage statement, not to exceed a total of twenty~five hundred

(2,500) dollars for each violation, together with costs and reasonable attorney's fees in

accordance with NYLL § 198.

WHEREFORE, the Plaintiffs demand judgment

Case 1:14-cV-037O9-GHW Document 2 Filed 05/23/14 Page 9 of 9

1, on their first cause of action, against Defendants in an amount to be determined at

trial, plus liquidated damages in the amount equal to the amount of unpaid wages, interest,

attorneys’ fees, and costs;

2. on their second cause of action, against Defendants in an amount to be determined

at trial, plus damages interest, attorneys’ fees, and costs;

3. on their third cause of action, against Defendants in an amount to be determined

at trial, plus damages interest, attomeys’ fees, and costs; and

4. such other and further relief as the Court may deem just and proper.

Dated: New York, New York
May 21, 2014

VlRGINIA & AMBINDER, LLP

By= 014 7

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